     Case 1:03-cv-00785-MBH                                   Document 235-13                      Filed 12/01/17                          Page 1 of 2
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